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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT.
for the CO FEB 21 ANI: 27

Western District of Texas

 

United States of America ) 2 j2 “ee
Vv. ) “  tpe
MENDEZ, Monica Elena Cate,
EP2OMI1239-0
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__ 7 a ) oe U
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of | __-—~ September 20,2020. ————siinthecountyof El Paso in the
__ Judicial —_— District of Texas _—__ , the defendant(s) violated:
Code Section Offense Description
21 U.S.C. § 841 (a) (1) Knowingly Possessed with the Intent to Distribute
approximately 28.70 kilograms of crystal methamphetamine and 1.04 of black
tar heroin

This criminal complaint is based on these facts:

See attached Affidavit, which is marked Attachment "A", and which is incorporated by reference as if fully set out
herein.

@ Continued on the attached sheet.

Complainant's signature

 

Syl.

___ Jorge Molina, Task Force Officer
Printed name and title

 

 

   
     

Sworn to before me and signed in my presence.

 

 

Judge s signature ah.
City and state: El Paso, TX Leon Schydlower, U.S. Magistrate Judge

Oath ae eal
At 1 :

Fed. R.Crim,P, 4,1(b)}{2)(A)

 

 

Printed name and title
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United States of America
V.
Monica Elena Mendez

Attachment A

On February 20, 2020, DEA Task Force Officer’s (TFO) from Task Force 1
(TF1) were summoned to the Ysleta Port of Entry, located at 797 S. Zaragoza Rd., El
Paso, Texas, at the request of United Stated Customs and Border Protection Officers
(CBP). DEA Task Force Officers Luis Rodriguez and Pedro Palacios responded to the
Ysleta POE and met with CBP Officer Rene A. Araujo.

CBP Officer Araujo stated that at about 8:39pm, Monica Elena MENDEZ (herein
referred to as MENDEZ) attempted to enter the United State from Mexico the Ysleta
POE, vehicle lane #9. MENDEZ was operating a 2007, blue, Dodge 1500 pickup bearing
Texas license plate #MSL-5449. MENDEZ was the driver and sole occupant of the
vehicle. Upon meeting with MENDEZ, CBP Officer Araujo began interviewing
MENDEZ regarding her trip into Mexico. CBP Officer Araujo asked MENDEZ where
she was coming from in Mexico and the reason she (MENDEZ) had traveled there.
MENDEZ replied she had traveled to Juarez to visit family that had arrived from
Ascension, Mexico. CBP Officer Araujo then asked MENDEZ if the vehicle she was
driving belonged to her and where she was going. MENDEZ replied the vehicle was hers
and she was returning home. During the course of questioning MENDEZ, CBP Officer
Araujo observed that MENDEZ was overly polite and friendly when she responded to his
questions. MENDEZ also made CBP Officer Araujo aware that she was bring back some
oranges from Mexico. CBP Officer Araujo found this declaration unusual and believed it

to be a distraction tactic in order to avoid inspection. CBP Officer Araujo conducted a
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crossing history of the vehicle MENDEZ was operating and found the vehicle had several
Border Patrol Alamogordo check point crossings.

CBP Officer Araujo continued with a U.S. Customs declaration, and asked
MENDEZ if she was bring any fruits, meats, plants, liquor or weapons? MENDEZ
advised CBP Officer Araujo she had nothing to declare. CBP Officer Araujo asked
MENDEZ if she was responsible for everything in the vehicle, to which MENDEZ
replied “yes”. MENDEZ was then referred to the secondary inspection area.

In the secondary inspection area MENDEZ met with CBP Officer Gerardo
Aguirre Jr. CBP Officer Aguirre also questioned MENDEZ about her trip into Mexico.
MENDEZ advised CBP Officer Aguirre that she had been in Juarez visiting family that
was from Acension, Mexico since 10 am. CBP Officer Aguirre then asked MENDEZ
what she did for a living. MENDEZ responded she was a care provider for the elderly.
MENDEZ was then asked by CBP Officer Aguirre if she was the owner of the vehicle, if
the vehicle was registered to her and how long she had owned the vehicle. MENDEZ
stated the vehicle was hers and was registered to her. MENDEZ also stated she had
bought the vehicle from an unspecified friend. During his interview of MENDEZ, CBP
Officer Aguirre observed that MENDEZ was very friendly, shaking when she spoke and
spoke with a trembling voice. CBP Officer Aguirre also observed that MENDEZ’s
carotid artery was pulsating abnormally when she answered any of Officer Aguirre’s
questions. CBP Officer Aguirre also asked MENDEZ if anyone had asked her for a
favor, offered her a job or threatened to her to bring something across from Mexico.
MENDEZ replied that no one had done any of the above mentioned acts. CBP Officer
Aguirre then instructed MENDEZ to drive her vehicle through the Z-Portal X-Ray
machine. CBP Officer C. Aragon advised Officer Aguirre that there were anomalies in

the gas tank of MENDEZ’s vehicle. Officer Aguirre summoned the assistance of CBP
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Officer B. Canales and K-9 ARD (141509), K-9 ARD alerted to the odor of narcotics
along the gas tank area. Using a Fiber Optic Scope, Officer Aguirre confirmed that there
were vacuum sealed packages in the gas tank. A total of 49 bundles were removed from
the gas tank of MENDEZ’s vehicle. Officer Aguirre advised 48 of the bundles tested
positive for the properties of Methamphetamine and were found to have a weight of
58.85 lbs. or 26.70 kgs. Officer Aguirre also stated that one bundle test positive for the
property of black tar heroin and was found to have a weight of 2.30 Ibs. or 1.04 kgs.
Upon arriving at the Ysleta POE TFO Rodriguez and TFO Palacios attempted to
interview MENDEZ. MENDEZ stated she did not wish to speak to the agents.
MENDEZ was not questioned further and transported to the DEA, El Paso Division for
processing. The narcotics were also transported, stored and secured and the El Paso
Division’s evidence section. Upon completing the processing of MENDEZ, TFO
Rodriguez and TFO Palacios transported MENDEZ to the El Paso County Detention

Facility.

 

 

Lope.

Task Force Officer Leon Schydlower
Jorge Molina, DEA U.S. Magistrate Judge
